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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



 NATHAN W. LYON,
                                                        CIVIL ACTION
                                 Plaintiff,
                                                        NO. 3:15-cv-04732-AET-TJB
                       v.

 FIRST CHOICE LOAN SERVICES, INC.,
 et al.,
                                 Defendants.


                               REQUEST BY LOCAL COUNSEL FOR
                                  PRO HAC VICE ATTORNEY
                            TO RECEIVE ELECTRONIC NOTIFICATION

         Request is hereby made by local counsel for pro hac vice counsel to receive electronic
 notification in the within matter, and it is represented that:

           1. An order of the Court granting a motion to appear pro hac vice in the within matter has
              been entered; and

           2. If admission was granted after March 25, 2005, the Admission Fee, in the amount of
              $150, pursuant to L. CIV. R. 101.1(c)(3), has been paid to the Clerk of the Court.


 Dated: July 21, 2015                                   /s/ William H. Pillsbury
                                                        WILLIAM H. PILLSBURY


 PRO HAC VICE ATTORNEY INFORMATION

 Name:            Darren H. Weiss, Esquire

 Address:         OFFIT KURMAN, P.A.
                  300 E. Lombard Street
                  Suite 2010
                  Baltimore, Maryland 21202

 e-mail:          dweiss@offitkurman.com
